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 3
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 4   Fax:           (209)544-1860
 5   Attorney for Defendant,
     VALENTIN RAMIREZ-CARDINEZ
 6

 7

 8                       IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,              ) CR. No. 09-380-05-WBS
                                            )
12
            Plaintiff,                      )
                                            ) STIPULATION AND (PROPOSED)ORDER
13                                          ) FOR CONTINUANCE OF SENTENCING
     v.                                     )
14                                          )
     VALENTIN RAMIREZ-CARDINEZ,             )
15                                          )
                                            )
16          Defendants.                     )
                                            )
17                                          )
                                            )
18                                          )
19

20          Defendant, VALENTIN RAMIREZ-CARDINEZ, through his attorney
21
     ROBERT L. FORKNER, together with the United States of America
22
     through its undersigned counsel, MICHAEL M. BECKWITH, Assistant
23
     United States Attorney, hereby stipulate and request the
24
     following:
25
            1.   That the Court continue the sentencing in the above-
26
     captioned case from June 4, 2012, to August 6, 2012, at 9:30
27
     a.m.
28

                               STIPULATION AND PROPOSED ORDER

                                            - 1 -
          Case 2:09-cr-00380-WBS Document 192 Filed 06/04/12 Page 2 of 4



 1       2.     As of this date, counsel has not received a
 2   presentencing report on Mr. Ramirez-Cardenas from the U.S.
 3   Probation officer.      As such, defense counsel requests the
 4   continuance in order to permit the preparation of the Pre
 5   Sentencing Report; to allow a complete review of the Report from
 6   Probation with the defendant, and to file the necessary
 7   objections before the currently scheduled date.
 8        For these reasons, the parties stipulate and request that
 9   the Court exclude time within which the trial must commence
10   under the Speedy Trial Act from June 4, 2012 through August 6,
11   2012, for defense preparation under 18 U.S.C.
12   § 3161(h)(8)(B)(ii) and (iv).
13   IT IS SO STIPULATED.
14

15   Dated:   June 1, 2012                         /s/ Robert L. Forkner
                                                   ROBERT L. FORKNER
16
                                                   Attorney for Defendant
17                                                 VALENTIN RAMIREZ-CARDINAS

18   Dated: June 1, 2012                           BENJAMIN B. WAGNER
                                                   United States Attorney
19

20
                                                   by: /s/ Michael Beckwith
21                                                 MICHAEL BECKWITH
                                                   Assistant U.S. Attorney
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                              STIPULATION AND PROPOSED ORDER

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          Case 2:09-cr-00380-WBS Document 192 Filed 06/04/12 Page 3 of 4



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     VALENTIN RAMIREZ-CARDENAS
 6

 7

 8                     IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,            ) CR. No. 09-380-WBS
11                                        )
          Plaintiff,                      ) ORDER TO
12                                        ) CONTINUE SENTENCING
                                          )
13   v.                                   )
                                          )
14
     VALENTIN RAMIREZ-CARDINAS,           )
                                          )
15                                        )
          Defendants.                     )
16                                        )
                                          )
17                                        )
                                          )
18

19
     IT IS SO ORDERED.
20

21   Dated:   June 4, 2012

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                             STIPULATION AND PROPOSED ORDER

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                      STIPULATION AND PROPOSED ORDER

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